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 1   Tanya E. Moore. SBN 206683
     MOORE LAW FIRM, P.C.
 2   300 South First Street, Suite 342
     San Jose, California 95113
 3   Telephone (408) 298-2000
     Facsimile (408) 298-6046
 4   E-mails: tanya@@moorelawfirm.com;
     service@moorelawfirm.com
 5
     Attorney for Plaintiff,
 6   Hendrik Block
 7                              UNITED STATES DISTRICT COURT
 8                             EASTERN DISTRICT OF CALIFORNIA
 9   HENDRIK BLOCK,                    ) Case No. 1:23-cv-00024-JLT-BAM
                                       )
10               Plaintiff,            ) NOTICE OF VOLUNTARY DISMISSAL
                                       )
11        vs.                          ) OF ENTIRE ACTION
                                       )
12   ADAM HAUTER dba FRESNO            )
     COMMUNITY MARKET #3; SAMAIR       )
13                                     )
     HAUTER dba FRESNO COMMUNITY
                                       )
14   MARKET #3; NORA HAUTER dba FRESNO)
     COMMUNITY MARKET #3; MOHAMMED )
15   SAMY HAUTER, Trustee of the       )
16   MOHAMMED SAMY HAUTER FAMILY )
     TRUST dated September 20, 2003;   )
                                       )
17   GAMILAH A. HAUTER, Trustee of the )
     MOHAMMED SAMY HAUTER FAMILY )
18                                     )
     TRUST dated September 20, 2003;
                                       )
19                                     )
                 Defendants.           )
20
21          WHEREAS, Defendants have not filed an answer or motion for summary judgment;
22          WHEREAS, Plaintiff and Defendants have settled the matter;
23          WHEREAS, no counterclaim has been filed;
24          Plaintiff hereby dismisses this action with prejudice in its entirety pursuant to Federal
25   Rule of Civil Procedure 41(a)(1)(A)(i).
26   Date: March 22, 2023                        MOORE LAW FIRM, P.C.
27
                                                 /s/ Tanya E. Moore
28
                                                 Tanya E. Moore
                                                 Attorney for Plaintiff, Hendrik Block

                         NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION

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